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Supreme Court of California

JORGE E. NAVARRETE .
Clerk and Executive Officer of the Supreme Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT

OF THE

STATE OF CALIFORNIA

SOLOMON BENJAMIN CERA

 

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify SOLOMON BENJAMIN CERA, #99467, was on the 1° day
of December, 1981 duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll of Attorneys as a member of the bar of this
state in good standing.

Witness my hand and the seal of the court
on this day of September 7", 2021.

JORGE E. NAVARRETE
Clerk/Executive Officer of the Supreme Court

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Florentino Jimenez, Assistant Deputy Clerk

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